     Case 3:16-md-02741-VC          Document 20010         Filed 01/13/25     Page 1 of 1




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER GRANTING PLAINTIFF’S
                                                  MOTION FOR LEAVE TO FILE
   Straub v. Monsanto Co.,                        SECOND AMENDED COMPLAINT
   Case No. 3:22-cv-03829-VC
                                                  Re: Dkt. No. 19698


       The plaintiff’s motion for leave to file a second amended complaint is granted.

       IT IS SO ORDERED.

Dated: January 13, 2025
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
